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                   Exhibit N
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                  Case 3:23-cv-01246-RNC                    Document 123-16                Filed 06/18/25     Page 3 of 24


             Filed ITU: No                                                     Currently ITU: No
             Filed 44D: No                                                    Currently 44D: No
             Filed 44E: No                                                     Currently 44E: No
             Filed 66A: No                                                    Currently 66A: No
      Filed No Basis: No                                                 Currently No Basis: No

                                                 Current Owner(s) Information
          Owner Name: Black Widow Termite & Pest Control Corp.
     Owner Address: 112 Meeting House Rd. Ste. B
                    Bedford Corners, NEW YORK UNITED STATES 10549
   Legal Entity Type: CORPORATION                                           State or Country NEW YORK
                                                                           Where Organized:

                                           Attorney/Correspondence Information
                                                                     Attorney of Record
     Attorney Name: SCOTT E. CHARNEY                                         Docket Number: BLKWID004
    Attorney Primary docket@charneyiplaw.com                                  Attorney Email Yes
     Email Address:                                                              Authorized:
                                                                       Correspondent
     Correspondent SCOTT E. CHARNEY
     Name/Address: CHARNEY IP LAW LLC
                   725 COOL SPRINGS BLVD. #600
                   FRANKLIN, TENNESSEE UNITED STATES 37067
                Phone: 615-732-6289
   Correspondent e- docket@charneyiplaw.com                                Correspondent e- Yes
              mail:                                                         mail Authorized:
                                                           Domestic Representative - Not Found

                                                           Prosecution History
                                                                                                                               Proceeding
   Date                Description
                                                                                                                               Number
Aug. 27, 2024      CANCELLATION INSTITUTED NO. 999999                                                                        86092
Aug. 06, 2024      NOTICE OF REGISTRATION CONFIRMATION EMAILED
Aug. 06, 2024      REGISTERED-PRINCIPAL REGISTER
May 21, 2024       OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
May 21, 2024       PUBLISHED FOR OPPOSITION
May 01, 2024       NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Apr. 17, 2024      APPROVED FOR PUB - PRINCIPAL REGISTER
Apr. 10, 2024      ASSIGNED TO EXAMINER
Sep. 08, 2023      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Aug. 12, 2023      NEW APPLICATION ENTERED

                                             TM Staff and Location Information
                                                                 TM Staff Information - None
                                                                        File Location
   Current Location: FILE REPOSITORY (FRANCONIA)                            Date in Location: Aug. 06, 2024

                                                                  Proceedings
   Summary
            Number of 1
          Proceedings:

                                                  Type of Proceeding: Cancellation

            Proceeding 92086092                                                   Filing Date: Aug 27, 2024


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                   Case 3:23-cv-01246-RNC                   Document 123-16              Filed 06/18/25               Page 4 of 24

              Number:
               Status: Suspended                                               Status Date: Sep 27, 2024
           Interlocutory KATIE BUKRINSKY
               Attorney:
                                                                     Defendant
                Name: Black Widow Termite & Pest Control Corp.
      Correspondent SCOTT E. CHARNEY
           Address: CHARNEY IP LAW LLC
                    725 COOL SPRINGS BLVD. #600
                    FRANKLIN TN UNITED STATES , 37067
    Correspondent e- docket@charneyiplaw.com
               mail:
Associated marks
                                                                                                                                Registration
    Mark                                                                             Application Status      Serial Number
                                                                                                                                Number
BLACK WIDOW                                                                                                98124482           7466919
                                                                     Plaintiff(s)
                Name: Black Widow Pest Specialist LLC
      Correspondent EMILIO A. ESTRELLA TERON
           Address: COHEN AND WOLF, P.C.
                    1115 BROAD ST
                    BRIDGEPORT CT UNITED STATES , 06604
    Correspondent e- eestrella@cohenandwolf.com , wcarroll@cohenandwolf.com , ahoffman@cohenandwolf.com
               mail:
                                                                 Prosecution History
    Entry Number           History Text                                                                      Date               Due Date
9                       SUSP PEND DISP OF CIVIL ACTION                                                     Nov 18, 2024
8                       D REPLY IN SUPPORT OF MOTION                                                       Sep 27, 2024
7                       SUSP PEND DISP OF OUTSTNDNG MOT                                                    Sep 27, 2024
6                       P OPP/RESP TO MOTION                                                               Sep 23, 2024
5                       D CHANGE OF CORRESP ADDRESS                                                        Sep 03, 2024
4                       D MOT TO SUSP PEND DISP CIV ACTION                                                 Sep 03, 2024
3                       INSTITUTED                                                                         Aug 27, 2024
2                       NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                           Aug 27, 2024       Oct 06, 2024
1                       FILED AND FEE                                                                      Aug 27, 2024




             P001194
                   Case 3:23-cv-01246-RNC                          Document 123-16                   Filed 06/18/25               Page 5 of 24



From:                    TMOfficialNotices@USPTO.GOV
To:                      XXXX
Sent:                    Tuesday, August 06, 2024 10:04:42 EDT
Subject:                 Official USPTO Notification: U.S. Trademark Application SN 98124482 -- Docket/Reference No. BLKWID004



                                                        OFFICIAL USPTO NOTICE OF REGISTRATION


U.S. Application Serial No. 98124482
Mark: BLACK WIDOW
Owner/Holder: Black Widow Termite & Pest Control Corp.
Docket/Reference No. BLKWID004

Issue Date: August 06, 2024

Your mark has registered with the United States Patent and Trademark Office (USPTO). Your United States trademark registration number is 7466919.

View and download your registration certificate using the Trademark Status & Document Retrieval (TSDR) database. If you have difficulty accessing the registration
certificate, contact the Trademark Assistance Center (TAC) at TrademarkAssistanceCenter@uspto.gov or 800-786-9199 (select option #1). New registration
certificates are issued electronically. For more information, visit the USPTO's electronic registration certificates webpage.

If your registration certificate contains an error that would not require republication to correct it, you can use the Trademark Electronic Application System (TEAS)
Section 7 Request for Amendment or Correction of Registration Certificate (Section 7) form to request correction of that error.

Order presentation copies online:

You can order a printed presentation copy of your registration certificate using the TEAS Order Trademark Presentation Copy of Registration Certificate form. The
presentation copy is suitable for display and framing. For more information on the availability and cost of presentation copies of trademark registrations, visit the
USPTO's electronic registration certificates webpage.


Requirements to maintain your registration:

       File your registration maintenance documents at the required times.

       If you do not submit your maintenance documents at the required times, your registration will be cancelled. If that happens, you must file a new
       application. Filing a new application doesn't guarantee your trademark will register again.


Please note the following:

       You may receive unsolicited offers and notices from third-parties not affiliated with the USPTO. All official correspondence about your trademark registration
       will be from the "United States Patent and Trademark Office" in Alexandria, Virginia, and all emails will be from the domain "@uspto.gov." Visit our
       misleading notices webpage for more information.

       If your registration covers products that are likely targets for international counterfeiters (e.g., popular or high-demand products), consider applying to record
       your trademark registration with U.S. Customs and Border Protection (CBP). Recording your trademark registration helps CBP detain and seize imported
       goods if they violate your recorded trademark. Visit our recording trademark registrations with CBP webpage for more information.

       To help ensure that you receive emails from the USPTO, keep your email address(es) current using the Change Address or Representation (CAR) form and
       add USPTO email addresses to your contacts or "Safe Senders" list.

       If your trademark registration identifies goods and/or services not in use with your trademark, you can use the Section 7 form to request deletion of any goods
       and/or services not in use with your trademark. There’s no fee to file a Section 7 form if you file the Section 7 form before you file your required registration
       maintenance documents, and you are only deleting goods, services, or classes. Other amendments and corrections may require a filing fee. For information on
       amendments and corrections after registration, see TMEP §1609.


If you have any questions about this notice, contact TAC at TrademarkAssistanceCenter@uspto.gov or 800-786-9199 (select option #1).




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          Case 3:23-cv-01246-RNC     Document 123-16             Filed 06/18/25          Page 6 of 24




Reg. No. 7,466,919          Black Widow Termite & Pest Control Corp. (NEW YORK CORPORATION)
                            112 Meeting House Rd. Ste. B
Registered Aug. 06, 2024    Bedford Corners, NEW YORK 10549
Int. Cl.: 37                CLASS 37: Pest control for commercial buildings; Pest control for residential homes;
                            Termite and pest control services, other than for agriculture, aquaculture, horticulture
Service Mark                and forestry
Principal Register          FIRST USE 4-30-2008; IN COMMERCE 4-30-2008

                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                            ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                            OWNER OF U.S. REG. NO. 4582084, 4624108, 4624109

                            SEC.2(F)

                            SER. NO. 98-124,482, FILED 08-09-2023




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    Case 3:23-cv-01246-RNC                  Document 123-16               Filed 06/18/25          Page 7 of 24
     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at
http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                           Page: 2 of 2 / RN # 7466919


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                    Case 3:23-cv-01246-RNC                              Document 123-16                      Filed 06/18/25                 Page 8 of 24



From:                       TMOfficialNotices@USPTO.GOV
Sent:                       Tuesday, May 21, 2024 00:41:25 EST
To:                         XXXX
Subject:                    Official USPTO Notification: U.S. Trademark Application SN 98124482 -- Docket/Reference No. BLKWID004


                                          TRADEMARK OFFICIAL GAZETTE PUBLICATION CONFIRMATION

U.S. Serial Number: 98124482
Mark: BLACK WIDOW
International Class(es): 037
Owner: Black Widow Termite & Pest Control Corp.
Docket/Reference Number: BLKWID004

The mark identified above has been published in the Trademark Official Gazette (TMOG) on May 21, 2024.

To Review the Mark in the TMOG:

     Click on the following link or paste the URL into an internet browser: https://tmog.uspto.gov/#issueDate=2024-05-21&serialNumber=98124482

On the publication date or shortly thereafter, the applicant should carefully review the information that appears in the TMOG for accuracy. For corrections or amendments after
publication, please use the Post-Approval/Publication/Post-Notice of Allowance (NOA) Amendment Form, accessible at https://teas.uspto.gov/office/ppa. For general
information about this notice, please contact the Trademark Assistance Center at 1-800-786-9199.

Significance of Publication for Opposition:

 *    Any party who believes it will be damaged by the registration of the mark may file a notice of opposition (or extension of time therefor) with the Trademark Trial and Appeal
      Board. If no party files an opposition or extension request within thirty (30) days after the publication date, then eleven (11) weeks after the publication date a certificate of
      registration should issue.

To check the status of the application, go to https://tsdr.uspto.gov/#caseNumber=98124482&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of the application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
https://tsdr.uspto.gov/#caseNumber=98124482&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only become available on-line the next
business day after receipt of this e-mail.




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                       UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                                                                                                                                      Commissioner for Trademarks
                                                                                                                                                                   www.uspto.gov


           OFFICIAL USPTO NOTICE OF PUBLICATION UNDER 12(a)

U.S. Application Serial No. 98124482
Mark: BLACK WIDOW
International Class(es): 037
Owner: Black Widow Termite & Pest Control Corp.
Docket/Reference No. BLKWID004

Issue Date: May 01, 2024



Your mark is scheduled to publish in the Trademark Official Gazette (TMOG) on May 21, 2024.

Your mark appears to be entitled to register on the Principal Register, subject to any claims of concurrent use.

What happens when your mark publishes. Within 30 days of the publication date, any party who believes it will be damaged by the registration of the mark may file a notice
of opposition (or extension of time) with the Trademark Trial and Appeal Board. If no objection is filed, we will issue a registration.

View your mark in the TMOG after the publication date at https://tmog.uspto.gov/ by selecting your publication date in the "issues" field, entering your serial number in the
"search by" field, and clicking on the magnifying glass.

Ensure that the information in the TMOG is correct. If any information is incorrect, promptly request correction using the "Post-Approval/Publication/Post-Notice of
Allowance (NOA) Amendment" form at https://teas.uspto.gov/office/ppa/. For more information, see https://www.uspto.gov/trademark/trademark-updates-and-
announcements/procedures-submitting-amendmentscorrections-trademark.



Direct questions about this notice to the Trademark Assistance Center (TAC) at 1-800-786-9199 (select option 1) or TrademarkAssistanceCenter@uspto.gov.




             Email Address(es):

             XXXX




             P001199
                   Case 3:23-cv-01246-RNC                             Document 123-16                      Filed 06/18/25                 Page 10 of 24



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Wednesday, May 01, 2024 03:21:13 EST
To:                        XXXX
Subject:                   Official USPTO Notification: U.S. Trademark Application SN 98124482 -- Docket/Reference No. BLKWID004

                                                                 NOTIFICATION OF "NOTICE OF PUBLICATION"

Your trademark application (U.S. Serial No.98124482) is scheduled to publish in the Official Gazette on May 21, 2024. To preview the Notice of Publication, go to the
Trademark Status & Document Retrieval (TSDR) database, accessible at https://tsdr.uspto.gov/search.action?sn=98124482. If you have difficulty accessing the Notice of
Publication, contact the Trademark Assistance Center (TAC) by e-mail at TrademarkAssistanceCenter@uspto.gov or by telephone at 800-786-9199.

PLEASE NOTE:
 1.  The Notice of Publication may not be immediately available but will be viewable within 24 hours of this e-mail notification.
 2.  You will receive a second e-mail on the actual "Publication Date," which will include a link to the issue of the Official Gazette in which the mark has published.

Please confirm that the correspondence information shown in TSDR is correct. If the correspondence information is not correct, please update this information using the online
Change of Correspondence Address Form, accessible at https://teas.uspto.gov/ccr/cca.

Do NOT hit "Reply" to this e-mail notification. If you find an error in the Notice of Publication, update the information using the Post-Approval/Publication/Post-Notice of
Allowance (NOA) Amendment Form, accessible at https://teas.uspto.gov/office/ppa.




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   Case 3:23-cv-01246-RNC   Document 123-16   Filed 06/18/25   Page 13 of 24




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          Case 3:23-cv-01246-RNC         Document 123-16        Filed 06/18/25      Page 14 of 24
User: Anicka Purath

                                             Statistics for Case
                                                 98124482
                                                    Total        Dead        Live Viewed Live Viewed Status/Search
 #                      Search
                                                    Marks        Marks          Docs       Images      Duration
1  SN:98124482                                              1            0            1             1
   OW:"Black Widow Termite & Pest Control Co
2                                                           4            0            4             4
   rp."
3 CM:/.*bl+a?[ckqx].*/ AND LD:true                   12875               0            0            0          0:00
4 CM:/.*w[iy]?d+o.*/ AND LD:true                       648               0            0            0          0:00
5 3 AND 4                                               79               0           79           79
6 CM:/.*bl+a[ckqx].*/ AND LD:true                    12479               0            0            0          0:00
7 6 AND CC:037                                        5424               0            0            0          0:00
8 6 AND IC:(037 035 044 a b 200)                      2113               0            0            0          0:00
9 6 AND IC:(037 a b 200)                               223               0          223          223
10 4 AND CC:037                                        274               0          274          274


Session started 04/10/2024 7:00 am
Session ended 04/10/2024 7:10 am
Total search duration 0.00
Session duration 10 minutes 15 seconds
Adjacency Level 1
Near Level 1




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   Case 3:23-cv-01246-RNC   Document 123-16   Filed 06/18/25   Page 15 of 24




P001205
   Case 3:23-cv-01246-RNC   Document 123-16   Filed 06/18/25   Page 16 of 24




P001206
                           Case 3:23-cv-01246-RNC                                                   Document 123-16                                      Filed 06/18/25      Page 17 of 24


PTO- 1478
Approved for use through 10/31/2024. OMB 0651-0009
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


                                               Trademark/Service Mark Application, Principal Register
                                                                                                TEAS Plus Application
                                                                                                         Serial Number: 98124482
                                                                                                         Filing Date: 08/09/2023

    NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                                under the facts of the particular application.




                                                                               The table below presents the data as entered.

                                                             Input Field                                                                                           Entered
              TEAS Plus                                                                                                            YES
              MARK INFORMATION
              *MARK                                                                                                                BLACK WIDOW
              *STANDARD CHARACTERS                                                                                                 YES
              USPTO-GENERATED IMAGE                                                                                                YES
              LITERAL ELEMENT                                                                                                      BLACK WIDOW
                                                                                                                                   The mark consists of standard characters, without claim to any
              *MARK STATEMENT
                                                                                                                                   particular font style, size, or color.
              REGISTER                                                                                                             Principal
              APPLICANT INFORMATION
              *OWNER OF MARK                                                                                                       Black Widow Termite & Pest Control Corp.
              *MAILING ADDRESS                                                                                                     112 Meeting House Rd. Ste. B
              *CITY                                                                                                                Bedford Corners
              *STATE
                                                                                                                                   New York
              (Required for U.S. applicants)

              *COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                                          United States
              *ZIP/POSTAL CODE
                                                                                                                                   10549
              (Required for U.S. and certain international addresses)

              *EMAIL ADDRESS                                                                                                       XXXX
              WEBSITE ADDRESS                                                                                                      https://blackwidowpestcontrol.com/
              LEGAL ENTITY INFORMATION
              *TYPE                                                                                                                CORPORATION
              * STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY OF
                                                                                                                                   New York
              INCORPORATION

              GOODS AND/OR SERVICES AND BASIS INFORMATION
              * INTERNATIONAL CLASS                                                                                                037
                                                                                                                                   Pest control for commercial buildings; Pest control for
              *IDENTIFICATION                                                                                                      residential homes; Termite and pest control services, other than

                   P001207
        Case 3:23-cv-01246-RNC                       Document 123-16                 Filed 06/18/25           Page 18 of 24


                                                                        for agriculture, aquaculture, horticulture and forestry
*FILING BASIS                                                           SECTION 1(a)
   FIRST USE ANYWHERE DATE                                              At least as early as 04/30/2008
   FIRST USE IN COMMERCE DATE                                           At least as early as 04/30/2008

   SPECIMEN                                                             \\TICRS\EXPORT18\IMAGEOUT
   FILE NAME(S)                                                         18\981\244\98124482\xml1 \ FTK0003.JPG
   SPECIMEN DESCRIPTION                                                 internet based advertisement for the services
    WEBPAGE URL                                                         https://blackwidowpestcontrol.com/
    WEBPAGE DATE OF ACCESS                                              08/08/2023
ADDITIONAL STATEMENTS SECTION
*TRANSLATION
(if applicable)

*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION                                             The applicant claims ownership of active prior U.S.
(if applicable)                                                         Registration Number(s) 4582084, 4624108, and 4624109.
*CONSENT (NAME/LIKENESS)
(if applicable)

*CONCURRENT USE CLAIM
(if applicable)

                                                                        The mark has become distinctive of the goods/services as
SECTION 2(f) Claim of Acquired Distinctiveness, based on Active Prior   evidenced by the ownership on the Principal Register for the
Registration(s)                                                         same mark for sufficiently similar goods/services of active
                                                                        U.S. Registration No(s). 4624108, 4624109.
                                                                      The mark has become distinctive of the goods/services through
                                                                      the applicant's substantially exclusive and continuous use of
SECTION 2(f) Claim of Acquired Distinctiveness, based on Five or More
Years' Use
                                                                      the mark in commerce that the U.S. Congress may lawfully
                                                                      regulate for at least the five years immediately before the date
                                                                      of this statement.
ATTORNEY INFORMATION
NAME                                                                    Scott E. Charney
ATTORNEY DOCKET NUMBER                                                  BLKWID004
ATTORNEY BAR MEMBERSHIP NUMBER                                          XXX
YEAR OF ADMISSION                                                       XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY                                     XX
FIRM NAME                                                               Charney IP Law LLC
INTERNAL ADDRESS                                                        Suite 100
STREET                                                                  233 Mount Airy Road
CITY                                                                    Basking Ridge
STATE                                                                   New Jersey
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                              United States
ZIP/POSTAL CODE                                                         07920
PHONE                                                                   908-758-1374



   P001208
       Case 3:23-cv-01246-RNC            Document 123-16        Filed 06/18/25       Page 19 of 24


FAX                                                908-758-1201
EMAIL ADDRESS                                      docket@charneyiplaw.com
CORRESPONDENCE INFORMATION
NAME                                               Scott E. Charney
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE           docket@charneyiplaw.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)      NOT PROVIDED
FEE INFORMATION
APPLICATION FILING OPTION                          TEAS Plus
NUMBER OF CLASSES                                  1
APPLICATION FOR REGISTRATION PER CLASS             250
*TOTAL FEES DUE                                    250
*TOTAL FEES PAID                                   250
SIGNATURE INFORMATION
* SIGNATURE                                        /scott e. charney/
* SIGNATORY'S NAME                                 Scott E. Charney
* SIGNATORY'S POSITION                             Attorney of record, New Jersey Bar member
SIGNATORY'S PHONE NUMBER                           908-758-1374
* DATE SIGNED                                      08/09/2023
SIGNATURE METHOD                                   Signed directly within the form




  P001209
                           Case 3:23-cv-01246-RNC                                                   Document 123-16                                      Filed 06/18/25   Page 20 of 24

PTO- 1478
Approved for use through 10/31/2024. OMB 0651-0009
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number




                                                                Trademark/Service Mark Application, Principal Register

                                                                                                       TEAS Plus Application

                                                                                                         Serial Number: 98124482
                                                                                                         Filing Date: 08/09/2023
To the Commissioner for Trademarks:

MARK: BLACK WIDOW (Standard Characters, see mark)
The literal element of the mark consists of BLACK WIDOW. The mark consists of standard characters, without claim to any particular font style,
size, or color.
The applicant, Black Widow Termite & Pest Control Corp., a corporation of New York, having an address of
    112 Meeting House Rd. Ste. B
    Bedford Corners, New York 10549
    United States
    XXXX

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
International Class 037: Pest control for commercial buildings; Pest control for residential homes; Termite and pest control services, other than
for agriculture, aquaculture, horticulture and forestry

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.

In International Class 037, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 04/30/2008, and first used in commerce at least as early as 04/30/2008, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) internet based advertisement for the services.
Specimen File1

Webpage URL: https://blackwidowpestcontrol.com/
Webpage Date of Access: 08/08/2023


Claim of Active Prior Registration(s)
The applicant claims ownership of active prior U.S. Registration Number(s) 4582084, 4624108, and 4624109.

SECTION 2(f) Claim of Acquired Distinctiveness, based on Active Prior Registration(s)
The mark has become distinctive of the goods/services as evidenced by the ownership on the Principal Register for the same mark for sufficiently
similar goods/services of active U.S. Registration No(s). 4624108, 4624109.

SECTION 2(f) Claim of Acquired Distinctiveness, based on Five or More Years' Use
The mark has become distinctive of the goods/services through the applicant's substantially exclusive and continuous use of the mark in
commerce that the U.S. Congress may lawfully regulate for at least the five years immediately before the date of this statement.

For informational purposes only, applicant's website address is: https://blackwidowpestcontrol.com/
The owner's/holder's proposed attorney information: Scott E. Charney. Scott E. Charney of Charney IP Law LLC, is a member of the XX bar,
admitted to the bar in XXXX, bar membership no. XXX, is located at
   Suite 100
   233 Mount Airy Road

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    Basking Ridge, New Jersey 07920
    United States
    908-758-1374(phone)
    908-758-1201(fax)
    docket@charneyiplaw.com
The docket/reference number is BLKWID004.
Scott E. Charney submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court
of a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

The applicant's current Correspondence Information:
   Scott E. Charney
    PRIMARY EMAIL FOR CORRESPONDENCE: docket@charneyiplaw.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $250 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /scott e. charney/ Date: 08/09/2023
Signatory's Name: Scott E. Charney
Signatory's Position: Attorney of record, New Jersey Bar member
Signatory's Phone Number: 908-758-1374
Signature method: Signed directly within the form
Payment Sale Number: 98124482
Payment Accounting Date: 08/09/2023



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Serial Number: 98124482
Internet Transmission Date: Wed Aug 09 15:19:00 ET 2023
TEAS Stamp: USPTO/FTK-XXXX:XXXX:XXXX:XXXX:XXXX:XXXX:
XXXX:XXXX-20230809151903290938-98124482-
86089686d485ea8b122574325ad0611266679f81
1596e09de0296241d84443e-CC-19006955-2023
0809150540148781




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